     Case 1:23-cr-00047-MHC-JEM Document 45 Filed 08/03/23 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,

v.                                         CRIMINAL ACTION FILE
                                           NO. 1:23-CR-00047-MHC-JEM
KRISTOPHER KNEUBUHLER,

      Defendant.


      ORDER FOR SERVICE OF REPORT AND RECOMMENDATION
      The Report and Recommendation of the United States Magistrate Judge

made in accordance with 28 U.S.C. § 636(b)(1) and this Court’s Criminal Local

Rules 12.1(E) and 58.1(A)(3) has been filed. The Clerk is DIRECTED to serve
upon counsel for the parties and directly upon any unrepresented parties a copy

of the Report and Recommendation and a copy of this Order.

      Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if
any, to the Report and Recommendation within fourteen (14) days of service of

this Order. Should objections be filed, they shall specify with particularity the

alleged error(s) made (including reference by page number to any transcripts if

applicable) and shall be served upon the opposing party. See United States v.

Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for
review by the District Court. Failure to object in accordance with this rule waives

a party’s right to review by the District Court, and on appeal, the Court of

Appeals will deem waived any challenge to factual and legal findings to which

there was no objection, subject to interests-of-justice plain error review. See
      Case 1:23-cr-00047-MHC-JEM Document 45 Filed 08/03/23 Page 2 of 2




Harrigan v. Metro Dade Police Dep't Station #4, 977 F.3d 1185, 1191-92 (11th Cir.
2020); Fed. R. Crim. P. 59(b)(2); see also 11th Cir. R. 3-1 (“A party failing to object

to a magistrate judge’s findings or recommendations . . . waives the right to

challenge on appeal the district court’s order based on unobjected-to factual and
legal conclusions if the party was informed of the time period for objecting and

the consequences on appeal for failing to object.”).

      Pursuant to 18 U.S.C. § 3161(h)(1)(H), the above referenced fourteen (14)
days allowed for filing objections are EXCLUDED from the computation of time

under the Speedy Trial Act (“the Act”), whether or not objections are actually

filed. If objections are filed, the Clerk is directed to exclude from the computation
of time all time between the filing of the Report and Recommendation, and the

submission to the District Judge, along with any objections, responses and replies

thereto. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v. United States 476 U.S. 321, 331

(1986); United States v. Mers, 701 F.2d 1321, 1337 (11th Cir. 1983). The Clerk is

DIRECTED to submit the Report and Recommendation with objections, if any,

to the District Court after expiration of the above time-period.

      SO ORDERED August 3, 2023.
